Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 1 of 60 Page ID
                                 #:104018




                 Exhibit 1
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 2 of 60 Page ID
                                 #:104019




                                                                          Exhibit 1
                                                                           Page 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 3 of 60 Page ID
                                 #:104020




                                                                          Exhibit 1
                                                                           Page 4
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 4 of 60 Page ID
                                 #:104021




                                                                          Exhibit 1
                                                                           Page 5
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 5 of 60 Page ID
                                 #:104022




                 Exhibit 2
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 6 of 60 Page ID
                                 #:104023




                                                                          Exhibit 2
                                                                           Page 6
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 7 of 60 Page ID
                                 #:104024




                                                                          Exhibit 2
                                                                           Page 7
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 8 of 60 Page ID
                                 #:104025




                 Exhibit 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 9 of 60 Page ID
                                 #:104026




                                                                           Exhibit 3
                                                                            Page 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 10 of 60 Page ID
                                 #:104027




                                                                           Exhibit 3
                                                                            Page 9
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 11 of 60 Page ID
                                 #:104028




                  Exhibit 4
RE: Bryant v. Mattel et al - McFarland Subpoena                        Page 1 of 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 12 of 60 Page ID
                                             #:104029




                                      ! "
                        #$ %&'($
                               ( &)         &)
                ('    *+
             ,       -.&/01023.4&2"56.3 7   8!9 :!; ,<=



James,

I am confused by the email that you sent to me last night at 9 pm. As you know, as a professional
courtesy I agreed on July 16 to accept service of the subpoena on me, but I specifically reserved all of
my rights to object to the subpoena, including without limitation, objecting to the production of
documents, and that my acceptance of service of the subpoena was without waiver of the right to file a
motion to quash. You agreed that I had reserved all of my objections, apart from any objection as to
service. Along with the subpoena that your courier hand delivered to me, you included an on call
agreement which stated in relevant part that it would be “unlikely that [I would] be called to testify on
July 22” which is the date that the subpoena that you served on me commanded that I appear. (see
attached subpoena)

I signed the on call agreement as drafted, except that I changed the 24 hour notice period to 48 hours,
which has been the on going practice in this case. Christian emailed the signed agreement to you
yesterday at approximately 2:30 pm. Also, as you know and pursuant to my email dated July 16,
where I reserved all of my rights to object to the subpoena, on July 21 Skadden filed a motion to quash
the subpoena.

With respect to the demand in your email last night that I appear in court today with the documents
requested in the subpoena, unfortunately I am not available. Based on your on call letter, I did not
expect to be called as a witness today and in addition you did not provide me with even the 24 hours
notice set forth in your letter (which should be 48 hours notice as set forth above).

Michael, if you raise this matter up with Judge Larson today, I would appreciate it if you would tell
Judge Larson about my position as set forth in this email.

Best regards,

Larry McFarland
KEATS, McFARLAND & WILSON, LLP
9720 Wilshire Boulevard
Penthouse Suite
Beverly Hills, California 90212
Telephone: (310) 248-3830
Direct: (310) 777-3750
Facsimile: (310) 860-0363
www.kmwlaw.com

=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=
THIS MESSAGE IS INTENDED ONLY FOR THE
USE OF THE INDIVIDUAL OR ENTITY TO
WHICH IT IS ADDRESSED AND MAY CONTAIN
INFORMATION THAT IS PRIVILEGED, CONFI-
DENTIAL, AND EXEMPT FROM DISCLOSURE
UNDER APPLICABLE LAW.
                                                                                                        Exhibit 4
                                                                                                        Page 10

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                   7/24/2008
RE: Bryant v. Mattel et al - McFarland Subpoena                        Page 2 of 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 13 of 60 Page ID
                                             #:104030

If the reader of this message is not the intended recipient, or the employee or agent responsible for delivering the
message to the intended recipient, you are hereby notified that any dissemination, distribution, forwarding, or
copying of this communication is strictly prohibited. If you have received this communication in error, please
notify the sender immediately by e-mail or telephone, and delete the original message immediately. For more
information, please visit http://www.kmwlaw.com. Thank you.

          #$               (
                           $>    #$             ?(
     *                       ! 0
    &'($
       ( &)
                      % (' *+
          @. <      $A $ $ $ -                   B #9

Larry and Christian -

It goes without saying that the subpoena requiring Larry to appear tomorrow July 23 in Judge Larson's
courtroom, with the requested documents remains in. The order of witnesses was made clear last week to all
parties, as you are undoubtedly aware.

We look forward to seeing you tomorrow morning.




      &'($( &)    ($ &)
      *              70
           #$
        <   $A $
               $ $ -                         B #9

James,

I hope you are well. Please find the attached agreement executed by Larry.

Best regards,

Christian C. Dowell, Esq.
KEATS, McFARLAND & WILSON, LLP
9720 Wilshire Boulevard
Penthouse Suite
Beverly Hills, California 90212
Telephone: (310) 248-3830
Direct: (310) 777-3749
Facsimile: (310) 860-0363
www.kmwlaw.com

=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=
THIS MESSAGE IS INTENDED ONLY FOR THE
USE OF THE INDIVIDUAL OR ENTITY TO
WHICH IT IS ADDRESSED AND MAY CONTAIN
INFORMATION THAT IS PRIVILEGED, CONFI-
DENTIAL, AND EXEMPT FROM DISCLOSURE
UNDER APPLICABLE LAW.
If the reader of this message is not the intended recipient, or the employee or agent responsible for delivering the
message to the intended recipient, you are hereby notified that any dissemination, distribution, forwarding, or
copying of this communication is strictly prohibited. If you have received this communication in error, please
                                                                                                             Exhibit 4
                                                                                                             Page 11

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                           7/24/2008
RE: Bryant v. Mattel et al - McFarland Subpoena                        Page 3 of 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 14 of 60 Page ID
                                             #:104031

notify the sender immediately by e-mail or telephone, and delete the original message immediately. For more
information, please visit http://www.kmwlaw.com. Thank you.
=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=




                                                                                                        Exhibit 4
                                                                                                        Page 12

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                       7/24/2008
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 15 of 60 Page ID
                                 #:104032




                  Exhibit 5
RE: Update re your appearance at trial                                 Page 1 of 2
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 16 of 60 Page ID
                                       #:104033




                                ! "
               #$
      %&'$
         ' %(           %(



James,

 If Judge Larson does not quash the subpoena, I will of course comply. As you know I accepted service of the
subpoena. However, I have client commitments on Friday, but I am available on what I think is the next court day
which is Tuesday August 5.

Sincerely,

Larry W. McFarland
KEATS, McFARLAND & WILSON, LLP
9720 Wilshire Boulevard
Penthouse Suite
Beverly Hills, California 90212
Direct: (310) 777-3750
Telephone: (310) 248-3830
Facsimile: (310) 860-0363

=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=
THIS MESSAGE IS INTENDED ONLY FOR THE
USE OF THE INDIVIDUAL OR ENTITY TO
WHICH IT IS ADDRESSED AND MAY CONTAIN
INFORMATION THAT IS PRIVILEGED, CONFI-
DENTIAL, AND EXEMPT FROM DISCLOSURE
UNDER APPLICABLE LAW.

If the reader of this message is not the intended recipient, or the employee or agent responsible for delivering the
message to the intended recipient, you are hereby notified that any dissemination, distribution, forwarding, or
copying of this communication is strictly prohibited. If you have received this communication in error, please
notify the sender immediately by e-mail or telephone, and delete the original message immediately. For more
information, please visit http://www.kmwlaw.com . Thank you.

=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=-=


                          #$          '
                                      $)       #$        *'
                                            + ,"
                   #$ -
             %&'$
                ' %(
                ./ 01 $                    11        $$'

         correction - that is Friday July 25 at 9am. Thank you.


                          #$
                                            + +"
             2                   2
             2
             %&'$
                ' %(             2
                01 $                  11         $$'                                                         Exhibit 5
                                                                                                             Page 13

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                           7/24/2008
RE: Update re your appearance at trial                                 Page 2 of 2
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 17 of 60 Page ID
                                       #:104034

       Hello Larry -

       I understand that the Court intends to rule tomorrow Thursday on the motion to quash the trial subpoena
       for you to appear with documents and tangibles.

       Please note that if the subpoena remains in effect Mattel requires your attendance at trial with the
       requested items on Friday July 24 at 9am.

       Thank you.




                                                                                                              Exhibit 5
                                                                                                              Page 14

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                          7/24/2008
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 18 of 60 Page ID
                                 #:104035




                  Exhibit 6
RE: Friday                                                             Page 1 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 19 of 60 Page ID
                                 #:104036




                                   !
      ! "    #$     % " &
      '      (    ) * ( + ,- ) * ('         (             %           %    ,   %! .   / /   %0
      #"         + ,- #"   0



I'm not going to engage in these email exchanges with you any further.
If the issue needs to be raised with the Judge, we'll do so.

-----Original Message-----
From: Michael T Zeller [mailto:michaelzeller@quinnemanuel.com]
Sent: Wednesday, July 23, 2008 8:23 PM
To: Aguiar, Lauren E (NYC); John Quinn
Cc: Herrington, Robert J (LAC); William Price; Jon Corey;
'LMcfarland@kmwlaw.com'; Nolan, Thomas J (LAC)
Subject: RE: Friday

He is MGA's lawyer. We expect MGA to ensure his production on Friday
without further excuses.

-----Original Message-----
From: Aguiar, Lauren E [mailto:Lauren.Aguiar@skadden.com]
Sent: Wednesday, July 23, 2008 8:21 PM
To: Michael T Zeller; John Quinn
Cc: Herrington, Robert J (LAC); William Price; Jon Corey;
LMcfarland@kmwlaw.com; Nolan, Thomas J (LAC)
Subject: RE: Friday

Thank you for the list of witnesses for Friday.

I understand that Mr. Webster of your firm continues to correspond with
Mr. McFarland about his availability to testify if the motion to quash
is denied. Your allegations regarding a general lack of cooperation
regarding scheduling of certain non-party witnesses are unfounded and
tiresome.

-----Original Message-----
From: Michael T Zeller [mailto:michaelzeller@quinnemanuel.com]
Sent: Wednesday, July 23, 2008 8:15 PM
To: John Quinn; Aguiar, Lauren E (NYC)
Cc: Herrington, Robert J (LAC); William Price; Jon Corey;
'LMcfarland@kmwlaw.com'
Subject: RE: Friday

Below is an updated Friday list. Please note that Mr. McFarland now
claims he is not available on Friday. This is not acceptable. We gave
notice well over a week ago that we expected him to testify. Please
take this as notice that, unless we receive immediate confirmation he
will appear Friday morning and unless his motion to quash is granted in
the interim, we will be moving ex parte to compel his appearance and for
sanctions. The lack of cooperation and last minute claims of scheduling
conflicts in connection with the appearance of MGA's lawyers -- all of
whom are officers of the court -- needs to end.

Custodian
                                                                                                 Exhibit 6
                                                                                                 Page 15

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...               7/24/2008
RE: Friday                                                             Page 2 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 20 of 60 Page ID
                                 #:104037

McFarland

Janet Bryant (video)

Lee (video)

Chui (video)

Kuemmerle (video)

Armstrong

Carol Scott

Keiser

Larian

-----Original Message-----
From: John Quinn
Sent: Wednesday, July 23, 2008 6:02 PM
To: 'Lauren.Aguiar@skadden.com'; Michael T Zeller
Cc: 'Robert.Herrington@skadden.com'; William Price; Jon Corey
Subject: Re: Friday

Yes of crse but we're scrambling

John B. Quinn
Quinn Emanuel Urquhart Oliver & Hedges, LLP
865 South Figueroa Street, 10th Floor
Los Angeles, CA 90017
Direct: (213) 443-3200
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100

E-Mail: johnquinn@quinnemanuel.com
Web: www.quinnemanuel.com


----- Original Message -----
From: Aguiar, Lauren E <Lauren.Aguiar@skadden.com>
To: Michael T Zeller
Cc: Herrington, Robert J (LAC) <Robert.Herrington@skadden.com>; John
Quinn; William Price; Jon Corey
Sent: Wed Jul 23 17:58:51 2008
Subject: Re: Friday

Ms. Gronich and Mr. Kamarck tell me that they will be available on Tues
the 5th. I appreciate that you are trying to figure out witnesses to
fill in, but we do need to know as soon as possible who is up on Friday.

Thanks


________________________________

From: Michael T Zeller
To: Aguiar, Lauren E (NYC)
Cc: Herrington, Robert J (LAC); John Quinn ; William Price ; Jon Corey
Sent: Wed Jul 23 20:54:53 2008
                                                                                   Exhibit 6
                                                                                   Page 16

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...   7/24/2008
RE: Friday                                                             Page 3 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 21 of 60 Page ID
                                 #:104038

Subject: RE: Friday


Lauren, I understand from the sidebar that Gronich and Kamarck are not
available on Friday. (If I misunderstood, please let me know.) Given
that, I am looking right now at who we can add on Friday to make sure we
get through the day. I will send you a follow up email on that.

________________________________

From: Aguiar, Lauren E [mailto:Lauren.Aguiar@skadden.com]
Sent: Wednesday, July 23, 2008 5:48 PM
To: Michael T Zeller
Cc: Herrington, Robert J (LAC); John Quinn; William Price; Jon Corey
Subject: Re: Friday



Ok, we will have Ms. Pembleton back on Fri. And Ms. Tonnu will be
released for that day.

Pls confirm that these are the witnesses for Fri:

Custodian

McFarland (pending motion to quash)

Larian

Janet Bryant (video)

Lee (video)

Chui (video)



----- Original Message -----
From: Michael T Zeller <michaelzeller@quinnemanuel.com>
To: Aguiar, Lauren E (NYC)
Cc: Herrington, Robert J (LAC); John Quinn <johnquinn@quinnemanuel.com>;
William Price <williamprice@quinnemanuel.com>; Jon Corey
<joncorey@quinnemanuel.com>
Sent: Wed Jul 23 15:11:09 2008
Subject: Re: Friday

Lauren, a couple other points. One is that we currently don't expect to
need Ms. Tonnu for Friday. Two, the custodian (Ms. Pembleton) will be on
Fri as well if she isn't completed today.

Michael Zeller
Quinn, Emanuel, Urquhart, Oliver & Hedges, LLP
865 South Figueroa Street, 3rd Floor
Los Angeles, CA 90017

Direct: (213) 443-3180
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100

E-mail: michaelzeller@quinnemanuel.com
                                                                                   Exhibit 6
                                                                                   Page 17

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...   7/24/2008
RE: Friday                                                             Page 4 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 22 of 60 Page ID
                                 #:104039

Web: www.quinnemanuel.com

The information contained in this e-mail message is intended only for
the personal and confidential use of the recipient(s) named above. This
message may be an attorney-client communication and/or work product and
as such is privileged and confidential. If the reader of this message
is not the intended recipient or agent responsible for delivering it to
the intended recipient, you are hereby notified that you have received
this document in error and that any review, dissemination, distribution,
or copying of this message is strictly prohibited. If you have received
this communication in error, please notify us immediately by e-mail, and
delete the original message.


----- Original Message -----
From: Michael T Zeller
To: 'Lauren.Aguiar@skadden.com' <Lauren.Aguiar@skadden.com>
Cc: 'Robert.Herrington@skadden.com' <Robert.Herrington@skadden.com>
Sent: Wed Jul 23 11:55:22 2008
Subject: Re: Friday

Right, assuming that court doesn't rule today re the mcfarland motion to
quash. Also, is MGA amenable to agreeing that we can introduce
testimony by Bryan Armstrong by video rather than having to call him
live? We expect it will be a short clip. Thanks.

Michael Zeller
Quinn, Emanuel, Urquhart, Oliver & Hedges, LLP
865 South Figueroa Street, 3rd Floor
Los Angeles, CA 90017

Direct: (213) 443-3180
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100

E-mail: michaelzeller@quinnemanuel.com
Web: www.quinnemanuel.com

The information contained in this e-mail message is intended only for
the personal and confidential use of the recipient(s) named above. This
message may be an attorney-client communication and/or work product and
as such is privileged and confidential. If the reader of this message
is not the intended recipient or agent responsible for delivering it to
the intended recipient, you are hereby notified that you have received
this document in error and that any review, dissemination, distribution,
or copying of this message is strictly prohibited. If you have received
this communication in error, please notify us immediately by e-mail, and
delete the original message.


----- Original Message -----
From: Aguiar, Lauren E <Lauren.Aguiar@skadden.com>
To: Michael T Zeller
Cc: Herrington, Robert J (LAC) <Robert.Herrington@skadden.com>
Sent: Wed Jul 23 10:57:10 2008
Subject: Re: Friday

So please confirm that your list for Friday is:

Gronich (she may be available on Friday)
                                                                                   Exhibit 6
                                                                                   Page 18

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...   7/24/2008
RE: Friday                                                             Page 5 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 23 of 60 Page ID
                                 #:104040


Kamarck

McFarland (motion to quash pending)

Larian

Tonnu

Janet Bryant (video)

Lee (video)

Chui (video)


----- Original Message -----
From: Michael T Zeller <michaelzeller@quinnemanuel.com>
To: Aguiar, Lauren E (NYC)
Cc: Herrington, Robert J (LAC)
Sent: Wed Jul 23 12:50:08 2008
Subject: Re: Friday

Same as before as it currently stands.

Michael Zeller
Quinn, Emanuel, Urquhart, Oliver & Hedges, LLP
865 South Figueroa Street, 3rd Floor
Los Angeles, CA 90017

Direct: (213) 443-3180
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100

E-mail: michaelzeller@quinnemanuel.com
Web: www.quinnemanuel.com

The information contained in this e-mail message is intended only for
the personal and confidential use of the recipient(s) named above. This
message may be an attorney-client communication and/or work product and
as such is privileged and confidential. If the reader of this message
is not the intended recipient or agent responsible for delivering it to
the intended recipient, you are hereby notified that you have received
this document in error and that any review, dissemination, distribution,
or copying of this message is strictly prohibited. If you have received
this communication in error, please notify us immediately by e-mail, and
delete the original message.


----- Original Message -----
From: Aguiar, Lauren E <Lauren.Aguiar@skadden.com>
To: Michael T Zeller
Cc: Herrington, Robert J (LAC) <Robert.Herrington@skadden.com>
Sent: Wed Jul 23 09:49:02 2008
Subject: Friday

Mike: we need your witness list for Friday. Thanks.

------------------------------------------------------------------------
------ ****************************************************
                                                                                   Exhibit 6
                                                                                   Page 19

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...   7/24/2008
RE: Friday                                                             Page 6 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 24 of 60 Page ID
                                 #:104041


To ensure compliance with Treasury Department regulations, we advise you
that, unless otherwise expressly indicated, any federal tax advice
contained in this message was not intended or written to be used, and
cannot be used, for the purpose of (i) avoiding tax-related penalties
under the Internal Revenue Code or applicable state or local tax law
provisions or (ii) promoting, marketing or recommending to another party
any tax-related matters addressed herein.
****************************************************
****************************************************

This email and any attachments thereto, is intended only for use by the
addressee(s) named herein and may contain legally privileged and/or
confidential information. If you are not the intended recipient of this
email, you are hereby notified any dissemination, distribution or
copying of this email, and any attachments thereto, is strictly
prohibited. If you receive this email in error please immediately notify
me at (212) 735-3000 and permanently delete the original copy and any
copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their
professional qualifications will be provided upon request.
****************************************************
========================================================================
======



------------------------------------------------------------------------
------ ****************************************************

To ensure compliance with Treasury Department regulations, we advise you
that, unless otherwise expressly indicated, any federal tax advice
contained in this message was not intended or written to be used, and
cannot be used, for the purpose of (i) avoiding tax-related penalties
under the Internal Revenue Code or applicable state or local tax law
provisions or (ii) promoting, marketing or recommending to another party
any tax-related matters addressed herein.
****************************************************
****************************************************

This email and any attachments thereto, is intended only for use by the
addressee(s) named herein and may contain legally privileged and/or
confidential information. If you are not the intended recipient of this
email, you are hereby notified any dissemination, distribution or
copying of this email, and any attachments thereto, is strictly
prohibited. If you receive this email in error please immediately notify
me at (212) 735-3000 and permanently delete the original copy and any
copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their
professional qualifications will be provided upon request.
****************************************************
========================================================================
======



------------------------------------------------------------------------
------ ****************************************************
                                                                                   Exhibit 6
                                                                                   Page 20

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...   7/24/2008
RE: Friday                                                             Page 7 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 25 of 60 Page ID
                                 #:104042


To ensure compliance with Treasury Department regulations, we advise you
that, unless otherwise expressly indicated, any federal tax advice
contained in this message was not intended or written to be used, and
cannot be used, for the purpose of (i) avoiding tax-related penalties
under the Internal Revenue Code or applicable state or local tax law
provisions or (ii) promoting, marketing or recommending to another party
any tax-related matters addressed herein.
****************************************************
****************************************************

This email and any attachments thereto, is intended only for use by the
addressee(s) named herein and may contain legally privileged and/or
confidential information. If you are not the intended recipient of this
email, you are hereby notified any dissemination, distribution or
copying of this email, and any attachments thereto, is strictly
prohibited. If you receive this email in error please immediately notify
me at (212) 735-3000 and permanently delete the original copy and any
copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their
professional qualifications will be provided upon request.
****************************************************
========================================================================
======

------------------------------------------------------------------------
------ ****************************************************

To ensure compliance with Treasury Department regulations, we advise you
that, unless otherwise expressly indicated, any federal tax advice
contained in this message was not intended or written to be used, and
cannot be used, for the purpose of (i) avoiding tax-related penalties
under the Internal Revenue Code or applicable state or local tax law
provisions or (ii) promoting, marketing or recommending to another party
any tax-related matters addressed herein.
****************************************************
****************************************************

This email and any attachments thereto, is intended only for use by the
addressee(s) named herein and may contain legally privileged and/or
confidential information. If you are not the intended recipient of this
email, you are hereby notified any dissemination, distribution or
copying of this email, and any attachments thereto, is strictly
prohibited. If you receive this email in error please immediately notify
me at (212) 735-3000 and permanently delete the original copy and any
copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their
professional qualifications will be provided upon request.
****************************************************
========================================================================
======




------------------------------------------------------------------------
------
****************************************************
                                                                                   Exhibit 6
                                                                                   Page 21

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...   7/24/2008
RE: Friday                                                             Page 8 of 8
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 26 of 60 Page ID
                                 #:104043


To ensure compliance with Treasury Department regulations, we advise you
that, unless otherwise expressly indicated, any federal tax advice
contained in this message was not intended or written to be used, and
cannot be used, for the purpose of (i) avoiding tax-related penalties
under the Internal Revenue Code or applicable state or local tax law
provisions or (ii) promoting, marketing or recommending to another party
any tax-related matters addressed herein.
****************************************************
****************************************************

This email and any attachments thereto, is intended only for use by the
addressee(s) named herein and may contain legally privileged and/or
confidential information. If you are not the intended recipient of this
email, you are hereby notified any dissemination, distribution or
copying of this email, and any attachments thereto, is strictly
prohibited. If you receive this email in error please immediately notify
me at (212) 735-3000 and permanently delete the original copy and any
copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their
professional qualifications will be provided upon request.
****************************************************
========================================================================
======



------------------------------------------------------------------------------
****************************************************

To ensure compliance with Treasury Department regulations, we advise you that, unless otherwise expressly
indicated, any federal tax advice contained in this message was not intended or written to be used, and cannot
be used, for the purpose of (i) avoiding tax-related penalties under the Internal Revenue Code or applicable state
or local tax law provisions or (ii) promoting, marketing or recommending to another party any tax-related matters
addressed herein.
****************************************************
****************************************************

This email and any attachments thereto, is intended only for use by the addressee(s) named herein and may
contain legally privileged and/or confidential information. If you are not the intended recipient of this email, you
are hereby notified any dissemination, distribution or copying of this email, and any attachments thereto, is
strictly prohibited. If you receive this email in error please immediately notify me at (212) 735-3000 and
permanently delete the original copy and any copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their professional qualifications will be provided upon
request.
****************************************************
==============================================================================




                                                                                                                Exhibit 6
                                                                                                                Page 22

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                              7/24/2008
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 27 of 60 Page ID
                                 #:104044




                  Exhibit 7
Re:                                                                    Page 1 of 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 28 of 60 Page ID
                                 #:104045




                               !    "    !       #$



We wld like to proceed immediately to begin exhibit tagging all the bratz products. When can we start doing
this? Or will mga do it?

Also please confirm that mga's document custodian will be prepared to authenticate all these products
immediately upon taking the stand friday.

John B. Quinn
Quinn Emanuel Urquhart Oliver & Hedges, LLP
865 South Figueroa Street, 10th Floor
Los Angeles, CA 90017
Direct: (213) 443-3200
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100

E-Mail: johnquinn@quinnemanuel.com
Web: www.quinnemanuel.com


----- Original Message -----
From: Aguiar, Lauren E <Lauren.Aguiar@skadden.com>
To: John Quinn
Sent: Mon Jul 21 16:44:10 2008
Subject: Re:

That is correct. I believe she would be available on Fri., obviously subject to how the discovery issue plays out.


----- Original Message -----
From: John Quinn <johnquinn@quinnemanuel.com>
To: Aguiar, Lauren E (NYC)
Sent: Mon Jul 21 19:05:03 2008
Subject: Re:

Ms gronich is not available wed?

John B. Quinn
Quinn Emanuel Urquhart Oliver & Hedges, LLP
865 South Figueroa Street, 10th Floor
Los Angeles, CA 90017
Direct: (213) 443-3200
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100

E-Mail: johnquinn@quinnemanuel.com
Web: www.quinnemanuel.com


----- Original Message -----
From: Aguiar, Lauren E <Lauren.Aguiar@skadden.com>
To: John Quinn
Sent: Mon Jul 21 15:57:47 2008
Subject: Re:
                                                                                                             Exhibit 7
                                                                                                             Page 23

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                            7/24/2008
Re:                                                                    Page 2 of 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 29 of 60 Page ID
                                 #:104046


I've traded messages with Ms. Gronich and I should be able to confirm tonight that she is available on Friday. I
left a voicemail and an email for Mr. Kamarck and have not heard back from him. (But we do not concede that
the pleadings from other cases should come in, or that they should testify.)


________________________________

From: John Quinn
To: Aguiar, Lauren E (NYC)
Sent: Mon Jul 21 18:28:21 2008
Subject:


any news on kaymark and gronich availability for wed?

John B. Quinn
Quinn Emanuel Urquhart Oliver & Hedges, LLP
865 South Figueroa Street, 10th Floor
Los Angeles, CA 90017
Telephone: 213-443-3000
Facsimile: 213-443-3100
E-mail: johnquinn@quinnemanuel.com <mailto:johnquinn@quinnemanuel.com>
Web: www.quinnemanuel.com <http://www.quinnemanuel.com/>

"There is nothing which is not the subject of debate. Amidst all this bustle tis not reason which carries the prize
but eloquence, and no man needs ever despair of gaining prosyletites to the most extravagant hypothesis who
has art enough to represent it in any favorable colors. The victory is not gained by the men at arms who manage
the pike and sword, but by the trumpeters, drummers and musicians of the army."

--David Hume


------------------------------------------------------------------------------ ****************************************************

To ensure compliance with Treasury Department regulations, we advise you that, unless otherwise expressly
indicated, any federal tax advice contained in this message was not intended or written to be used, and cannot
be used, for the purpose of (i) avoiding tax-related penalties under the Internal Revenue Code or applicable state
or local tax law provisions or (ii) promoting, marketing or recommending to another party any tax-related matters
addressed herein.
**************************************************** ****************************************************

This email and any attachments thereto, is intended only for use by the addressee(s) named herein and may
contain legally privileged and/or confidential information. If you are not the intended recipient of this email, you
are hereby notified any dissemination, distribution or copying of this email, and any attachments thereto, is
strictly prohibited. If you receive this email in error please immediately notify me at (212) 735-3000 and
permanently delete the original copy and any copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their professional qualifications will be provided upon
request.
****************************************************
==============================================================================



------------------------------------------------------------------------------ ****************************************************

To ensure compliance with Treasury Department regulations, we advise you that, unless otherwise expressly
indicated, any federal tax advice contained in this message was not intended or written to be used, and cannot
be used, for the purpose of (i) avoiding tax-related penalties under the Internal Revenue Code or applicable state
                                                                                                                                      Exhibit 7
                                                                                                                                      Page 24

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                                                  7/24/2008
Re:                                                                    Page 3 of 3
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 30 of 60 Page ID
                                 #:104047

or local tax law provisions or (ii) promoting, marketing or recommending to another party any tax-related matters
addressed herein.
**************************************************** ****************************************************

This email and any attachments thereto, is intended only for use by the addressee(s) named herein and may
contain legally privileged and/or confidential information. If you are not the intended recipient of this email, you
are hereby notified any dissemination, distribution or copying of this email, and any attachments thereto, is
strictly prohibited. If you receive this email in error please immediately notify me at (212) 735-3000 and
permanently delete the original copy and any copy of any email, and any printout thereof.

Further information about the firm, a list of the Partners and their professional qualifications will be provided upon
request.
****************************************************
==============================================================================




                                                                                                                Exhibit 7
                                                                                                                Page 25

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                              7/24/2008
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 31 of 60 Page ID
                                 #:104048




                  Exhibit 8
Re: Wednesday witnesses                                                Page 1 of 2
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 32 of 60 Page ID
                                 #:104049




                                !
             "   #$
      %          &   ' ( & ) *+ ' ( &%       &               , " -      ,.      !    ,    *



As I told John earlier today, Ms. Gronich is not available on Wednesday. It may be Friday, but she did not confirm that
tonight. Apparently she has a deposition previosuly scheduled in another case.

There has been a motion to quash filed as to Mr. McFarland.

I have been trading emails and calls with Mr. Kamarck. He wrote me this evening that he has work things and issues with
his daughter so I haven't gotten a firm date.

I'm doing everything I can on these three.

In any event, we need to know your witnesses for Wednesday and Friday.


             "       #$
                 )/0*+
     %           &
              ' ( & ) *+
                       , " -                     ,.     !     ,     *
         #       1121
           ' .       3&

We need you to provide Gronich, McFarland and Kamarck. Two of them have 48 hour on-call agreements. We expect
them to show up.


                               &
                               41 !
         "    #$
     %        & ' ( & ) *+
             ' .       3&

         3           &    3    3&            5 6

5555557        555555
#       " #$
* ' ( &%     &
8 &              2!
8 (9 &.        3&

: "& ;&
      " <                             < 6          &&     3"                     3&        ; .                   =     >
#"

555555555555555555555555555555555555555555555555555555555555555555555555555555 ????????????????????????????????????????????????????


#           6     3& "#       @6 & &         &    3   <       &
                                                              "&        &" 3     A6          &
;     &A <        &      &"         3     & &        3& & &(                 &(       ; &" 6 6      ;)+
 <     &A5   & 6 &            &
                              " :&      '<     *       66 ( &&           &A 3 6 <         )+6     &
     &                 &     &
                             " 6 &       &A5   &    &
                                                    &            "
????????????????????????????????????????????????????????????????????????????????????????????????????????


#"                     &&"  &&" &    &                   ;      (&
                                                                 "       )+     "                                &
6<               B      ; & ;   & : ;                   &&
                                                         "    &     6 & ;&
                                                                         "          " (                         &;
             &        &( &   6   ;&
                                  "                          &
                                                             &"    &&
                                                                    " &    & & 6 "(& :
                                                                                     ;                            <&
                                                                                                                   "
                                                                                                                           Exhibit 8
                                                                                                                           Page 26

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                                        7/24/2008
Re: Wednesday witnesses                                                Page 2 of 2
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 33 of 60 Page ID
                                 #:104050

      6             &       &;      &)     +C2152          6         &      &&
                                                                             "               6             6 ;
     6 & &&
          "        ;

= &"    ;    &   ( && " ;       & ;&" ! &        &" 6 ; D ; & 3 ( 6 < 6 D &
????????????????????????????????????????????????????
EEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEE

555555555555555555555555555555555555555555555555555555555555555555555555555555 ????????????????????????????????????????????????????


#           6     3& "#       @6 & &         &    3   <       &
                                                              "&        &" 3     A6          &
;     &A <        &      &"         3     & &        3& & &(                 &(       ; &" 6 6      ;)+
 <     &A5   & 6 &            &
                              " :&      '<     *       66 ( &&           &A 3 6 <         )+6     &
     &                 &     &
                             " 6 &       &A5   &    &
                                                    &            "
????????????????????????????????????????????????????????????????????????????????????????????????????????


#"            &
              &"  && " &     &                          ;       (&
                                                                 "       )+     "         &
6<            B
              ; & ;     & : ;                          &&
                                                        "     &     6 & ;&
                                                                         "          " (  &;
        &   &( &    6    ;&
                          "                                  &
                                                             &"    &&
                                                                    " &    & & 6 "(& :
                                                                                     ;     <&
                                                                                            "
      6       &  &;    &) +C2152                           6     &    &&
                                                                       "        6      6 ;
     6 & &&
          "  ;

= &"    ;    &   ( && " ;       & ;&" ! &        &" 6 ; D ; & 3 ( 6 < 6 D &
????????????????????????????????????????????????????
EEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEE




                                                                                                                           Exhibit 8
                                                                                                                           Page 27

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                                        7/24/2008
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 34 of 60 Page ID
                                 #:104051




                  Exhibit 9
           Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 35 of 60 Page ID
                                            #:104052



                   1 QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                       John B. Quinn (Bar No. 090378)
                   2   (johnquinn@quinnemanuel.com)
                       Michael T. Zeller (Bar No. 196417)
                   3   (michaelzeller@quinnemanuel.com)
                       Jon D. Corey (Bar No. 185066)
                   4   (joncorey@quinnemanuel.com)
                     865 South Figueroa Street, 10th Floor
                   5 Los Angeles, California 90017-2543
                     Telephone: (213) 443-3000
                   6 Facsimile: (213) 443-3100
                   7 Attorneys for Mattel, Inc.
                   8
                   9                           UNITED STATES DISTRICT COURT
                  10                       CENTRAL DISTRICT OF CALIFORNIA
                  11                                 EASTERN DIVISION
                  12 CARTER BRYANT, an individual,                CASE NO. CV 04-9049 SGL (RNBx)
                                                                  Consolidated with
                  13              Plaintiff,                      Case Nos. CV 04-09059 & CV 05-2727
                  14        vs.                                   Hon. Stephen G. Larson
                  15 MATTEL, INC., a Delaware                     [AMENDED] LIST OF WITNESSES
                     corporation,                                 MATTEL INTENDS TO CALL IN ITS
                  16                                              CASE-IN-CHIEF IN PHASE 1B
                                  Defendant.
                  17
                  18 AND CONSOLIDATED ACTIONS
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28                                                                                Exhibit 9
                                                                                                    Page 28
07209/2576651.1
                                                                -1-
                           [AMENDED] LIST OF WITNESSES MATTEL INTENDS TO CALL IN ITS CASE-IN-CHIEF IN PHASE 1B
           Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 36 of 60 Page ID
                                            #:104053



                   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   2               Pursuant to the direction of the Court, Mattel, Inc. ("Mattel") hereby
                   3 submits an amended list of witnesses it intends to call in its case-in-chief in the
                   4 Phase 1B trial. This list is attached as Exhibit A.
                   5               Mattel expressly reserves the right to amend and/or supplement this list.
                   6
                   7 DATED: July 18, 2008                  QUINN EMANUEL URQUHART OLIVER &
                                                           HEDGES, LLP
                   8
                   9
                                                            By /s/ B. Dylan Proctor
                  10                                          B. Dylan Proctor
                                                              Attorneys for Mattel, Inc.
                  11
                  12
                  13
                  14
                  15
                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28                                                                                 Exhibit 9
                                                                                                     Page 29
07209/2576651.1
                                                                 -2-
                           [AMENDED] LIST OF WITNESSES MATTEL INTENDS TO CALL IN ITS CASE-IN-CHIEF IN PHASE 1B
           Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 37 of 60 Page ID
                                            #:104054



                   1                                  EXHIBIT A
                   2    1.    Lily Martinez
                   3    2.    Daphne Gronich
                   4    3.    Mitchell Kamarck
                   5    4.    Larry Mcfarland
                   6    5.    Paula Garcia
                   7    6.    Kenneth Hollander
                   8    7.    Frank Keiser
                   9    8.    Isaac Larian
                  10    9.    Michael Moore
                  11    10.   Carol Scott
                  12    11.   Michael Wagner
                  13    12.   Ralph Oman
                  14    13.   Carter Bryant
                  15    14.   Janet Bryant (Video)
                  16    15.   Edmond Lee (Video)
                  17    16.   Sarah Chui (Video)
                  18    17.   Lisa Tonnu
                  19    18.   Lee Loetz
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28                                                                            Exhibit 9
                                                                                                Page 30
07209/2576651.1
                                                            -3-
                       [AMENDED] LIST OF WITNESSES MATTEL INTENDS TO CALL IN ITS CASE-IN-CHIEF IN PHASE 1B
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 38 of 60 Page ID
                                 #:104055




               Exhibit 10
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 39 of 60 Page ID
                                 #:104056




                                                                          Exhibit 10
                                                                           Page 31
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 40 of 60 Page ID
                                 #:104057




                                                                          Exhibit 10
                                                                           Page 32
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 41 of 60 Page ID
                                 #:104058




               Exhibit 11
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 42 of 60 Page ID
                                 #:104059
                                                                         5098

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                      ---
                 HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING
                                      ---
     MATTEL, INC.,                          :   PAGES:   5098 - 5215
                                            :
                  PLAINTIFF,                :
                                            :
           VS.                              :   NO. ED CV04-09049-SGL
                                            :   [CONSOLIDATED WITH
     MGA ENTERTAINMENT, INC.,               :   CV04-9059 & CV05-2727]
     ET AL.,                                :
                                            :
                  DEFENDANTS.               :




                     REPORTER'S TRANSCRIPT OF PROCEEDINGS
                               RIVERSIDE, CALIFORNIA
                               FRIDAY, JULY 18, 2008




                                       MARK SCHWEITZER, CSR, RPR, CRR
                                       OFFICIAL COURT REPORTER
                                       UNITED STATES DISTRICT COURT
                                       181-H ROYBAL FEDERAL BUILDING
                                       255 EAST TEMPLE STREET
                                       LOS ANGELES, CALIFORNIA 90012
                                       (213) 663-3494
                                                                          Exhibit 11
                                                                           Page 33
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 43 of 60 Page ID
                                  #:104060
                                                                        5099

 1     Appearances of Counsel:
 2
 3     On Behalf of Mattel:
 4          Quinn, Emmanuel, Urquhart, Oliver & Hedges, LLP
            By John B. Quinn, Esq.
 5             B. Dylan Proctor, Esq.
               Michael T. Zeller, Esq.
 6             Harry Olivar, Esq.
               John Corey, Esq.
 7             Diane Hutnyan, Esq.
               William Price, Esq.
 8             Scott Kidman, Esq.
            855 South Figueroa Street
 9          10th Floor
            Los Angeles, CA 90017
10          (213) 624-7707
11
12     On Behalf of MGA Entertainment:
13          Skadden, Arps, Slate, Meagher & Flom LLP
            By Thomas J. Nolan, Esq.
14             Carl Alan Roth, Esq.
               Jason Russell, Esq.
15             Lauren Aguiar, Esq.
               David Hansen, Esq.
16             Matthew Sloan, Esq.
               Robert Herrington, Esq.
17          300 South Grand Avenue
            Los Angeles, CA 90071-3144
18          (213) 687-5000
19
20
21
22
23
24
25
                                                                           Exhibit 11
                                                                            Page 34
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 44 of 60 Page ID
                                  #:104061
                                                                        5100

 1                                  I N D E X

 2
 3          MATTER:   1-B CONFERENCE.......................... 5100

 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25


                                                                           Exhibit 11
                                                                            Page 35
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 45 of 60 Page ID
                                  #:104062
                                                                        5101

 1             Riverside, California; Friday, July 18, 2008

 2                                   12:05 P.M.

 3                 WHEREUPON THE CASE HAVING BEEN CALLED AND

 4                 APPEARANCES GIVEN, THE FOLLOWING PROCEEDINGS

 5                 WERE HELD:

 6                 THE COURT:    Good afternoon, Counsel.    I asked

 7    counsel to come together at noon today to basically go over

 8    any pretrial matters that we need to take up to prepare for

 9    next week.     And I also asked counsel to submit to the Court

10    copies of any motions that they believe might still be

11    outstanding, and I've received those, and I appreciate that.

12                 What I'd like to do in this first part of the

13    hearing this afternoon is get a sense, pin down on both sides

14    what exactly it is counsel intends to do with the trial, what

15    we need to get resolved now, and figure out where we are.

16                 I'll begin with plaintiff Mattel.    I trust that we

17    have a witness list at this point.

18                 MR. ZELLER:    If I could get some guidance from the

19    Court as to what is the best way of summarizing what we

20    intend to do.     We have provided witness lists, which is our

21    best effort as of today, to put in order what we expect to

22    do.

23                 THE COURT:    Can I get a copy of that?

24                 MR. ZELLER:    Yes, I'm sure we have an extra copy of

25    that, your Honor.     We may have E-filed it.



                                                                           Exhibit 11
                                                                            Page 36
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 46 of 60 Page ID
                                  #:104063
                                                                            5102

 1               THE COURT:    Very good.

 2               MR. ZELLER:    This was our best effort, of course,

 3    and I think, as we flagged for the Court yesterday, some of

 4    these witnesses we do expect to fall off, subject to

 5    stipulations that we're pursuing, both parties are pursuing.

 6    And in the event that that's reached, then some of these

 7    people will fall off.

 8               THE COURT:    Why don't you go down the 17 and just

 9    tell me very brief one line statement or two what you are

10    calling them for, what you anticipate their testimony is,

11    just to give me some understanding of what to expect in this

12    phase.

13               MR. ZELLER:    Certainly, your Honor.     Daphne

14    Gronich, I think one of the main reasons we would call her

15    would be to put into evidence certain statements that MGA has

16    made in prior litigation.        These go to originality,

17    protectability, comparison, substantial similarity, other

18    copyright type issues.

19               The same is true for Mr. Kamarck, and the same is

20    true for No. 3, which is Larry McFarland.

21               THE COURT:    Okay.     So these are all from prior

22    litigation involving copyright and trademark; correct?

23               MR. ZELLER:    That's correct, your Honor.       And one

24    issue that I'm not sure has been resolved is we certainly, I

25    know on summary judgment, have raised the issue that in some



                                                                             Exhibit 11
                                                                              Page 37
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 47 of 60 Page ID
                                  #:104064
                                                                           5103

 1    respects, which -- I think in some respects, we have -- we

 2    raised on summary judgment the issue of judicial estoppel,

 3    because our view is that in some of those cases, MGA had

 4    asserted that the very works that the jury has now ruled were

 5    created during the term of Bryant's employment were copyright

 6    protectable, that they were original.       They have sued other

 7    parties on those exact works.

 8                 So from our perspective, they should not be allowed

 9    to argue anything to the contrary in this case.

10                 The next witness we have is Paula Garcia.      In the

11    main, her -- how we're envisioning her potential testimony

12    would be to get into evidence products that we believe are

13    infringing.     And then we will argue to the jury they are

14    infringing.     Dolls, licensed product, other accused works.

15                 THE COURT:    How are we doing in that area?    That

16    was something you flagged yesterday as being a concern in

17    terms of the exhibits you wanted to introduce.

18                 MR. ZELLER:    I know that there has been discussion,

19    and I know that even draft stipulations have been passed back

20    and forth.     I can get additional information as to exactly

21    where we are in that process, but I know that there had been

22    continued discussions among the parties as to a stipulation

23    that would hopefully obviate the need to put in a lot of

24    product through a witness.       We did, by the way, too, your

25    Honor, we did prepare and serve an exhibit list.        I know MGA



                                                                            Exhibit 11
                                                                             Page 38
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 48 of 60 Page ID
                                  #:104065
                                                                        5215

 1
 2
 3
 4
 5
 6
 7                           C E R T I F I C A T E

 8
 9
10                I hereby certify that pursuant to Title 28,

11    Section 753 United States Code, the foregoing is a true and

12    correct transcript of the stenographically reported

13    proceedings in the above matter.

14                Certified on July 18, 2008.

15
16
                             ________________________________

17                           MARK SCHWEITZER, CSR, RPR, CRR

                             Official Court Reporter

18                           License No. 10514

            `

19
20
21
22
23
24
25
                                                                           Exhibit 11
                                                                            Page 39
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 49 of 60 Page ID
                                 #:104066




               Exhibit 12
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 50 of 60 Page ID
                                 #:104067
                                                                         5490

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                      ---
                 HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING
                                      ---
     MATTEL, INC.,                          :   PAGES 5490 - 5576
                                            :
                  PLAINTIFF,                :
                                            :
           VS.                              :   NO. ED CV04-09049-SGL
                                            :   [CONSOLIDATED WITH
     MGA ENTERTAINMENT, INC.,               :   CV04-9059 & CV05-2727]
     ET AL.,                                :
                                            :
                  DEFENDANTS.               :




                     REPORTER'S TRANSCRIPT OF PROCEEDINGS
                               RIVERSIDE, CALIFORNIA
                           WEDNESDAY, JULY 23, 2008
                                JURY TRIAL - DAY 27
                                  AFTERNOON SESSION




                                       MARK SCHWEITZER, CSR, RPR, CRR
                                       OFFICIAL COURT REPORTER
                                       UNITED STATES DISTRICT COURT
                                       181-H ROYBAL FEDERAL BUILDING
                                       255 EAST TEMPLE STREET
                                       LOS ANGELES, CALIFORNIA 90012
                                       (213) 663-3494
                                                                          Exhibit 12
                                                                           Page 40
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 51 of 60 Page ID
                                  #:104068
                                                                        5491

 1     Appearances of Counsel:
 2
 3     On Behalf of Mattel:
 4          Quinn, Emmanuel, Urquhart, Oliver & Hedges, LLP
            By John B. Quinn, Esq.
 5             B. Dylan Proctor, Esq.
               Michael T. Zeller, Esq.
 6             Harry Olivar, Esq.
               John Corey, Esq.
 7             Diane Hutnyan, Esq.
               William Price, Esq.
 8          855 South Figueroa Street
            10th Floor
 9          Los Angeles, CA 90017
            (213) 624-7707
10
11
12     On Behalf of MGA Entertainment:
13          Skadden, Arps, Slate, Meagher & Flom LLP
            By Thomas J. Nolan, Esq.
14             Carl Alan Roth, Esq.
               Jason Russell, Esq.
15             Lauren Aguiar, Esq.
               David Hansen, Esq.
16             Matthew Sloan, Esq.
               Robert Herrington, Esq.
17          300 South Grand Avenue
            Los Angeles, CA 90071-3144
18          (213) 687-5000
19
20
21
22
23
24
25
                                                                           Exhibit 12
                                                                            Page 41
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 52 of 60 Page ID
                                  #:104069
                                                                        5492

 1                                  I N D E X

 2
 3    OPENING STATEMENT BY COUNSEL FOR THE DEFENSE........... 5498

 4    NINETTE PEMBLETON, SWORN............................... 5559

 5    DIRECT EXAMINATION BY MR. QUINN: ...................... 5560

 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25


                                                                           Exhibit 12
                                                                            Page 42
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 53 of 60 Page ID
                                  #:104070
                                                                          5493

 1              Riverside, California; Wednesday, July 23, 2008

 2                                  1:40 P.M.

 3              (HEARING HELD OUTSIDE THE PRESENCE OF THE JURY.)

 4                 THE COURT:   Okay.     We're back on the record outside

 5    the presence of the jury.         The Court wants to take up this

 6    issue raised by MGA concerning the appropriateness of

 7    disgorgement of profits as a remedy for the stated court

 8    claims.

 9                 Before the break, Mr. Nolan, I asked you what is

10    the authority for your proposition that disgorgement of

11    profits is not an appropriate remedy for -- is not the right

12    measure of damages for the state tort claims.         I asked you

13    where is it.     You said it's in the JMOL.      Show me.

14                 MR. NOLAN:   Okay.

15                 THE COURT:   I understand the preemption argument.

16    And that's separate.      Where is the authority that

17    disgorgement is not the right remedy?         I don't see it, and

18    I've read it twice now.

19                 MR. NOLAN:   What I'm saying is that this Court, in

20    its order of April 25th, 2008, said that to the extent that

21    Mattel's intentional interference in and unfair competition

22    claims are preempted by the Copyright Act, to the extent that

23    they are based on Mattel's right to Bratz, they are

24    preempted.

25                 THE COURT:   I understand that.



                                                                             Exhibit 12
                                                                              Page 43
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 54 of 60 Page ID
                                  #:104071
                                                                          5564

 1                 THE COURT:     What's the first and last exhibit

 2    number?

 3                 MR. QUINN:     The problem is that there are some gaps

 4    because duplicates were weeded out.

 5                 MS. AGUIAR:     We will provide the Court -- this was

 6    actually a fairly difficult process.          I mean, we worked

 7    collaboratively to do it.        But we will provide the Court with

 8    a list.     They are not sequential.     So it would be difficult

 9    for to us say the beginning and ending trial exhibit number,

10    but there are, as of Friday, there will be in the

11    neighborhood of about 8- to 900 of them.

12                 THE COURT:     I'll let counsel provide that to the

13    Court.     And the Court will then admit them at that time.        We

14    will have all of these on display in a facility here in the

15    courthouse for the jury to inspect first thing Friday

16    morning.     We'll go forward on that.

17                 Any further questions, Mr. Quinn, of this witness?

18                 MR. QUINN:     No, your Honor.

19                 THE COURT:     MGA may cross-examine.

20                 MS. AGUIAR:     As I said, your Honor, I think I will

21    wait until Friday.        She will be coming back, and at that

22    time, once we have all of this better organized --

23                 THE COURT:     Counsel, I'm not bringing this witness

24    back.     The witness -- we're bringing in all of the toys at

25    this point pursuant to the indication by counsel that there's



                                                                              Exhibit 12
                                                                               Page 44
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 55 of 60 Page ID
                                  #:104072
                                                                         5565

 1    no objection.     So all the toys are in once the jury has seen

 2    them.    If you want to re-call this witness, you may.

 3                 MS. AGUIAR:    That's fine.   I did want to, your

 4    Honor.     Because what I wanted to do, but we weren't able to

 5    bring them all in, is at least let the jury take a few

 6    minutes to let them see even just representative samples so

 7    that they can appreciate what is on all of these carts, and I

 8    did want to take a few minutes to do that, but I'll wait

 9    until we have all of them, if that's okay with your Honor.

10                 THE COURT:    Very well.   We'll have the jury do that

11    when they inspect them in the room.

12                 Thank you, Counsel.

13                 All right.    You may step down.

14                 MR. QUINN:    May we approach, your Honor?

15                 THE COURT:    You may.

16                 (SIDEBAR CONFERENCE HELD.)

17                 MR. QUINN:    Your Honor, we anticipated that going

18    further.

19                 MS. AGUIAR:    Yes.

20                 MR. QUINN:    The next three witnesses that we wanted

21    to call are not, we're informed, available, by MGA.

22    Mr. McFarland, Mr. Kamarck, and Ms. Gronich are not available

23    today.     So we're in a situation now where with a half hour

24    plus to go, we don't have a witness.

25                 THE COURT:    You know what Judge Rafeedie did in the



                                                                            Exhibit 12
                                                                             Page 45
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 56 of 60 Page ID
                                  #:104073
                                                                          5566

 1    same situation?

 2               MR. QUINN:    I have a pretty good idea.

 3               MS. AGUIAR:    And just to be clear about the

 4    non-party witnesses, Mr. McFarland, there's a motion to quash

 5    that was filed.    They responded to that yesterday, I believe.

 6    We were planning to reply by tomorrow first thing.        With

 7    regard to Ms. Gronich, we've exchanged e-mails.        I did tell

 8    them that she would be available either Friday or the very

 9    first court day, which is Tuesday.      And Mr. Kamarck just got

10    back to me saying he, too, cannot be available until Friday

11    because of something to do with his daughter, but can be

12    available the 5th.

13               So we didn't just say they are not available.

14               THE COURT:    Okay.   Very well.   This is both sides

15    have had problems getting non-party witnesses.        I understand

16    that.

17               And I am not going to force you to rest at this

18    point in time, Counsel.     But let's not let this happen again.

19               MR. QUINN:    Understood, your Honor.

20               THE COURT:    I'm going to have to send the jury home

21    now, and I don't want to have this happen again.

22               So let's find some other witnesses to start up

23    Friday morning.    It's not going to take that long for the

24    jury to inspect these.     I'm going to work right now on trying

25    to find a location here in the courthouse to set them up.



                                                                           Exhibit 12
                                                                            Page 46
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 57 of 60 Page ID
                                  #:104074
                                                                        5567

 1    There may be some space over in the Bankruptcy Court across

 2    the way that we could use.     And -- or maybe downstairs, but

 3    I'll work on that, and we'll have these set up, and then

 4    we'll have the jury go down, and they can spend as much time

 5    as they want perusing through the items.       And then I'm going

 6    to admit them.

 7               MS. AGUIAR:    I just want to add, we all, pointing

 8    to Mr. Quinn and to me, thought that this would take up the

 9    balance of the time today.     So that's what we were planning.

10               THE COURT:    Very well.   I assumed that.

11               MR. NOLAN:    Can I just ask my partner a question?

12    Because I think there's a disconnect.      The witness is not

13    going to be back tomorrow.

14               MS. AGUIAR:    What I thought I was making clear is

15    she is our employee.     So she is willing to come back Friday

16    morning after they inspect so that I can use a representative

17    sample of what they saw and have her explain the product.

18    It's our time to use.

19               THE COURT:    That's right.   That's fine.    Basically,

20    you want to have them see the product and then see the

21    exhibits and cross-examine.     I think that's a fair request.

22               MR. NOLAN:    I just wanted to make sure that's fair.

23               THE COURT:    All right.   I want to send the jury

24    home.   Back here at 9:00.

25               (CONCLUSION OF SIDEBAR CONFERENCE.)



                                                                            Exhibit 12
                                                                             Page 47
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 58 of 60 Page ID
                                  #:104075
                                                                        5576

 1
 2
 3
 4
 5
 6
 7                           C E R T I F I C A T E

 8
 9
10                I hereby certify that pursuant to Title 28,

11    Section 753 United States Code, the foregoing is a true and

12    correct transcript of the stenographically reported

13    proceedings in the above matter.

14                Certified on July 23, 2008.

15
16
                             ________________________________

17                           MARK SCHWEITZER, CSR, RPR, CRR

                             Official Court Reporter

18                           License No. 10514

19
20
21
22
23
24
25
                                                                           Exhibit 12
                                                                            Page 48
Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 59 of 60 Page ID
                                 #:104076




               Exhibit 13
Subpoenas                                                               Page 1 of 1
 Case 2:04-cv-09049-DOC-RNB Document 4150-4 Filed 07/24/08 Page 60 of 60 Page ID
                                  #:104077




                     !"   #   $%
                               &       # '(
          )



Carl, this will confirm our mutual understanding Friday that witnesses previously subpoenaed for trial need not be
subpoenaed again for phase 1(b), even if the witness testified and was excused during phase 1(a). Please let
me know if any of this is incorrect in your view. Thanks.




                                                                                                          Exhibit 13
                                                                                                           Page 49

https://webmail.quinnemanuel.com/owa/?ae=Item&t=IPM.Note&id=RgAAAACJlnb6Xv...                         7/24/2008
